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                          UNITED STATES BANKRUPTCY COURT
                            SOUTHERN DISTRICT OF TEXAS
                                  HOUSTON DIVISION                                                  ENTERED
                                                                                                    03/04/2019
IN RE:                                             §    CASE NUMBER:
                                                   §
DARIAN BUTLER                                      §    19-30007 (MI)
                                                   §    (Chapter 13)
      DEBTOR                                       §

                  AGREED ORDER SANCTIONING ROBERT W. BERLETH

        CAME ON for consideration the Order Suspending Electronic Filing Privileges. This

Agreed Order is made between (i) Robert W. Berleth (“Berleth”), (ii) David Peake, the Chapter 13

Trustee, and (iii) the Acting United States Trustee (collectively referred to as the “Parties”) on the

basis of the following stipulations of facts and law:

1.      The Court has jurisdiction to consider this matter under 28 U.S.C. § 1334 11 U.S.C.

§§ 105(a), 329(b), 526, 527, and 528DSSO\WRWKLVSURFHHGLQJ. This is a core proceeding under
28 U.S.C. § 157(b)(2).
2.     Venue is proper in this district under 28 U.S.C. § 1408.

3.      The Court has constitutional authority to enter a final order in this matter. If it is determined

that the bankruptcy judge does not have the constitutional authority to enter a final order or

judgment in this matter, the Parties consent to the entry of a final order or judgment by this Court

in this matter.

4.      Berleth is an attorney licensed to practice law in the State of Texas and a member of the

bar of this Court. He provided “bankruptcy assistance,” as that term is defined under 11 U.S.C. §

101(4)(A), to debtors in various bankruptcy cases, as set forth below:

 Debtor            Case No.    District       Chapter Date Filed         Status

 Afaf Ali          18-37392    (S.D. Tex.)    11         12/31/2018      Case dismissed on 2/1/2019.
 Ahmad
 Darian Butler     19-30007    (S.D. Tex.)    13         01/01/2019      Pending.
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 Leonel          19-30032    (S.D. Tex.)   13        01/02/2019    Pending.
 Botello

5.      The debtors identified above, with the exception of Afaf Ali Ahmad, are individuals whose

debts consist primarily of consumer debts and the value of whose non-exempt property is less than

$192,450, and therefore are “assisted persons” under 11 U.S.C. § 101(3).

6.     Berleth is a “debt relief agency” under 11 U.S.C. § 101(12)(A).

7.     Berleth, his agents, employees, and all other persons in active concert and participation

with Berleth assisted the debtors with the preparation of the documents filed in the bankruptcy

cases directly or indirectly through Synergy Law, LLC (“Synergy Law”).

8.     Berleth is an attorney with Berleth & Associates, PLLC (“Berleth & Associates”). On

October 10, 2018, Berleth & Associates and Synergy Law entered into an agreement whereby

Berleth & Associates would provide bankruptcy assistance. Synergy Law is not a member,

partner, or regular associate of Berleth & Associates. Pursuant to the agreement, Synergy Law

would collect the fees from clients and prepare the paperwork, and then would pay Berleth &

Associates in accordance with their agreement.

9.     The agreement between Berleth & Associates and Synergy Law applied to the chapter 13

bankruptcy cases involving debtors Darian Butler and Leonel Botello.

10.    Berleth provided his CM/ECF login and password to Synergy Law. Synergy Law used

Berleth’s CM/ECF login and password to file documents in the three (3) bankruptcy cases.

11.    Berleth terminated the agreement with Synergy Law.

12.    Debtor Afaf Ali Ahmad paid Berleth the sum of $4,000.00 in connection with Case No.

18-37392. Berleth has not received any payment from Synergy Law or from the debtors Darian

Butler and Leonel Botello in connection with their chapter 13 bankruptcy cases.

13.    The Court heard testimony regarding these matters on January 15, February 1, and
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February 4, 2019. The Court entered (i) the Order to Appear, (ii) the Order Requiring Synergy

Law, LLC, to Show Cause Why Synergy Law Should Not Be Sanctioned for Violating 11 U.S.C.

§§ 526, 527, and 528, and Barred From the Unauthorized Practice of Law in this State and Order

Requiring Robert Berleth to Show Cause Why His CM/ECF Filing Privileges Should Not Be

Suspended, (iii) the Order Suspending Electronic Filing Privileges, and (iv) Temporary

Restraining Order. See Case No. 19-30007, Dkt. Nos. 15, 43, 45, and 46. Any findings of fact

and conclusions of law in said Orders are adopted for purposes of this Agreed Order.

       NOW THEREFORE, the Parties hereby stipulate and good cause appearing for the entry

of this Agreed Order, it is hereby

       ORDERED that:

a.     Robert W. Berleth is hereby permanently enjoined from filing any bankruptcy petitions on

behalf of debtors in the Southern District of Texas for a period of one year from the date of entry

of this Agreed Order.

b.     Robert W. Berleth’s CM/ECF filing privileges are hereby suspended for a period of sixty

(60) days from the date of entry of this Agreed Order. The Clerk of Court is hereby directed to

suspend Robert W. Berleth’s CM/ECF Account for said period. Robert W. Berleth will retain his

PACER Account and will be permitted to file documents over the counter with the Clerk of the

Bankruptcy Court.

c.     Robert W. Berleth, no later than thirty (30) days after entry of this Agreed Order, shall

return the sum of $4,000.00 via cashier’s check or money order to Afaf Ali Ahmad. If the cashier’s

check or money order is returned for any reason or is not cashed within two (2) months of issuance,

Robert W. Berleth shall deposit into the Court’s Registry those monies within thirty (30) days and

shall give notice to the Acting United States Trustee of such amount deposited into the Court’s
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Registry and the name and address of Afaf Ali Ahmad whose cashier’s check or money order was

returned or not cashed.

d.     Robert W. Berleth, no later than five (5) days after entry of this Agreed Order, shall retake

the course for CM/ECF users.

e.     Robert W. Berleth, no later than six (6) months after entry of this Agreed Order, shall

complete five (5) hours of Continuing Legal Education courses approved by the State Bar of Texas

on the subject of professional ethics.

f.     Robert W. Berleth shall file with this Court a certificate of compliance with the terms c, d

and e of this Agreed Order.

g.     The failure of Robert W. Berleth to comply with the terms of this Agreed Order may result

in orders to compel compliance.

h.     This Court shall retain jurisdiction over this matter in order to ensure that its terms are

carried out, and that should Robert W. Berleth fail to comply with the terms of this Agreed Order,

the Acting United States Trustee shall be permitted to seek additional remedies against Robert W.

Berleth, including, but not limited to, civil contempt.

       Signed this             day of                                           , 2019.
 Signed: March 04, 2019

                                                     ____________________________________
                                              _________________________________________
                                              HONORABLE MARVIN     Marvin
                                                                      ISGURIsgur
                                                         United States Bankruptcy
                                              UNITED STATES BANKRUPTCY JUDGE      Judge
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AGREED TO AS TO FORM AND SUBSTANCE:

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